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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

 X CORP.,
                   Plaintiff,

            v.
                                                  Civil Action No. 4:23-cv-01175-O
 MEDIA MATTERS FOR AMERICA,
 et al.,                                          EXPEDITED RULING BY OCT. 2, 2024
            Defendants.                           AT 12:00 P.M. RESPECTFULLY
                                                  REQUESTED


      DEFENDANTS’ EMERGENCY MOTION TO STAY ORDER COMPELLING
      PRODUCTION OF DONOR-RELATED DOCUMENTS PENDING APPEAL

       Pursuant to Federal Rule of Appellate Procedure 8(a)(1)(A), Defendants Media Matters for

America, Eric Hananoki, and Angelo Carusone move the Court to stay its Order granting

Plaintiffs’ Motion to Compel Production of Donor Related Documents, ECF No. 98 (“Order”),

pending the outcome of Defendants’ appeal of that Order.

       For the reasons stated in the accompanying Brief in Support, Defendants request that the

Court enter the accompanying Proposed Order. Alternatively, Defendants respectfully request that

the Court grant a two week extension of its production deadline—from October 7 to October 21—

to permit the Fifth Circuit to evaluate Defendants’ forthcoming stay motion in an orderly fashion.

       Given the timing exigencies—and substantial First Amendment issues at stake—

Defendants further respectfully request that the Court rule on the instant motion (including any

denial) by Wednesday, October 2, 2024 at 12:00 p.m. to permit time for a stay request to the

Fifth Circuit ahead of the Court’s October 7 deadline.

Dated: October 1, 2024

Respectfully submitted,
/s/ Andrew LeGrand
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  Counsel for Defendants Media Matters for America, Angelo Carusone, and Eric Hananoki




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                               CERTIFCATE OF CONFERRAL

       On October 1, 2024, counsel for Defendants conferred with counsel for X Corp. to obtain

their position on this motion. Having received no response to date, Defendants assume that X Corp.

opposes the motion.

                                                      /s/ Andrew LeGrand
                                                      Andrew LeGrand


                                 CERTIFICATE OF SERVICE

       On October 1, 2024, I electronically submitted the foregoing document with the clerk of

court for the U.S. District Court, Northern District of Texas, using the electronic case filing system

of the court. I hereby certify that I have served all parties electronically or by another manner

authorized by Federal Rule of Civil Procedure 5(b)(2).

                                                      /s/ Andrew LeGrand
                                                      Andrew LeGrand




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